Dear Ms. Ledet:
Your request for an Attorney General's Opinion has been referred to me for research and response.  As I understand your question, it is as follows:
      May the Clerk of First City Court, in Orleans Parish, engage in the part-time practice of law representing the State of Louisiana?
It would appear that LSA R.S. 42:62(3) and LSA R.S. 42:63(D) provide the answer to the your question.  R.S. 42:63(D) provides, in pertinent, part as follows:
      "No person holding an elective office in a political subdivision of this State shall. . . . hold at the same time employment in the government of this State, or in the same political subdivision in which he holds an elective office. . . ."
Therefore, as a elected officer in a political subdivision of this State, you are prohibited from holding employment in the government of this State.  The question then becomes whether part-time legal representation of the State constitutes employment.  LSA R.S. 62(3) defines "employment" as:
      "any job compensated on a salary or per diem basis, other than an elective or appointive office in which a person is an employee of the State government or of a political subdivision thereof."
Your letter does not indicate the nature of the part-time   work you anticipate doing for the State of Louisiana.  However, if we assume that you anticipate working for the State on a contract basis, it is the opinion of this office that this would not constitute "employment" under the definition contained in R.S. 42:62.  This is consistent with Attorney General's Opinions Numbers 88-618 and 88-653.  To partially paraphrase and partially quote a portion of Opinion 88-653 if the relationship between you and the State of Louisiana is one of contract rather than "employment" as defined in R.S. 42:62(3), the provisions of the Dual Officeholding Statute are not violated.  Thus, it is the opinion of this office that you may legally enter into a contract with the State of Louisiana, to provide legal services, because such a contractual relationship will not result in an "employment" as defined by the Louisiana Dual Officeholding Law.
If, however, the anticipated work should involve working on a part-time, salaried or per diem basis, it is the opinion of this office that such work would constitute "employment" within the meaning of the statute, and would be prohibited.
I trust the foregoing adequately answers your question.  If, however, additional information is needed, please do not hesitate to contact me.
Yours very truly,
                              RICHARD P. IEYOUB Attorney General
                              BY: JAMES A. SMITH, II Assistant Attorney General
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